900 F.2d 251Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dwight A. DIXON, Plaintiff-Appellant,v.The Honorable Charles L. MCCORMICK, III;  Marshall L.Ellett;  Harry E. Dixon;  William W. Bennett, Jr.,Defendants-Appellees.
    No. 89-1598.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 5, 1990.Decided:  March 21, 1990.Rehearing and Rehearing In Banc Denied April 12, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Danville.  Jackson L. Kiser, District Judge.  (C/A No. 89-52-D)
      Dwight A. Dixon, appellant pro se.
      Guy Winston Horsley, Jr., Office of the Attorney General of Virginia, Richmond, Va.;    Ralph Edwin Burnette, Jr., Edmunds &amp; Williams, PC, Lynchburg, Virginia;  Robert Barnes Delano, Jr., Sands, Anderson, Marks &amp; Miller, Richmond, Va.;    William Beverly Poff, Michael James Quinan, Woods, Rogers &amp; Hazelgrove, Roanoke, Va., for appellees.
      W.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Dwight A. Dixon appeals from the district court's order dismissing his complaint for failure to state a federal cause of action against any of the defendants.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Dixon v. McCormick, C/A No. 89-52-D (W.D.Va. Nov. 28, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    